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                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF TEXAS

In Re:

           Big Horn Construction & Reclamation LLC                  Case No.:


                                           Debtor(s)



                                  VERIFICATION OF MAILING LIST


         The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                     •    is the first mail matrix in this case.

                     O    adds entities not listed on previously filed mailing list(s).

                     O    changes or corrects name(s) and address(es) on previously filed mailing list(s).

                     O    deletes name(s) and address(es) on previously filed mailing list(s).



       In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct.




Date:     June 7,2024
                                                     Cord H. Johnson/A uthorized Representative
                                                     Signer/Title
Date: June 7, 2024
                                                     Signature of Attorney
                                                     Robert A. Simon 18390000
                                                     Whitaker Chalk Swindle and Schwartz
                                                     301 Commerce St. STE 3500
                                                     Fort Worth, TX 76102
                                                     817-878-0500 Fax: 817-878-0501

                                                       XX-XXXXXXX
                                                     Debtor's Social Security/Tax ID No.


                                                     Joint Debtor's Social Security/Tax ID No.
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                     360 Industrial Services
                     4129 E. Van Buren Street #100
                     Phoenix, AZ 85008


                     383 Construction LLC
                     398 Orin Way
                     Douglas, WY 82633


                     3W Energy Services
                     1703 S. Hwy 87
                     Lamesa, TX 79331

                     4 Rivers Equipment LLC
                     1557 Promontory C ircle
                     Suite 110
                     Greeley, CO 80634

                     555 17th Street Investors LLC
                     555 17th Street, Suite 170
                     Denver, CO 80202


                     A Team Inc.
                     PO Box 153
                     Peotone, IL 60468

                     A-C-T Environmental & Infrastructure Inc
                     1875 West Main Street
                     Bartow, FL 33830

                     Absaroka Energy & Environmental Solution
                     112 HIgh Street
                     Buffalo, WY 82834


                     Acave Companies
                     1305 W. Expwy. 83
                     Sullivan City, TX 78595
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                     Accel Fusion LLC
                     2821 E. Pearl Street
                     Odessa, TX 79761


                     Accurate Solutions LKLC
                     1473 Dark Corner Road
                     Jacksboro, TX 76458


                     Ace Cloud Hosting
                     2537 E. Atlantic Blvd. #1331
                     Pompano Beach, FL 33062


                     Ace Specialties
                     303 Industrial Avenue
                     Odessa, TX 79761


                     Ace Valves LLC
                     5001 Devonian Avenue
                     Odessa, TX 79762


                     ACP International Inc
                     521 N. Great SW Pkwy
                     Arlington, TX 76011


                     Action Equipment
                     PO Box 2755
                     Weatherford, TX 76086


                     ADP
                     1 ADP Blvd.
                     Roseland, NJ 07068


                     Advance Connections Inc
                     2015 McKenzie Drive
                     Suite 120
                     Carrollton, TX 75006
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                     Advantage Equipment Rental & Sales LLC
                     15850 US-377 South
                     Fort Worth, TX 76126


                     Affect Enterprises LLC
                     2538 Thomason Dr.
                     Denver, CO 80205


                     Affordable Storage Thomason
                     3420 Thomason Dr
                     Midland, TX 79703


                     AG Tech Drainage
                     40536 US Hwy 71
                     Sauk Centre, MN 56378


                     Agfinity Inc.
                     4065 St. Cloud Dr.
                     Suite 100
                     Loveland, CO 80538


                     Agri Sales US Inc
                     100 Main Street
                     PO Box 37
                     Ceresco, NE 68017


                     Airgas USA LLC
                     319 NE 23rd Street
                     Fort Worth, TX 76164


                     Alabama Pipe & Supply Co Inc
                     5721 US-90
                     Theodore, AL 36582


                     Ally
                     PO Box 380901
                     Minneapolis, MN 55438
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                     Alpha Southwest Inc
                     11105 Dyer Street
                     El Paso, TX 79934


                     Altec Capital Services LLC
                     33 Inverness Center Pkwy
                     Birmingham, AL 35242


                     America Supply LLC
                     502 N. Grimes St.
                     Hobbs, NM 88240

                     American Arbitration Assn.
                     13727 Noel Road
                     Suite 700
                     Dallas, TX 75249

                     American Valve & Meter Service Inc
                     1113W. Broadway St.
                     Hobbs, NM 88240


                     American Welding & Gas
                     4900 Falls of Neuse Road
                     Suite 150
                     Raleigh, NC 27609

                     Apple Electrical Contractors Inc
                     7540 Andrews Hwy
                     Odessa, TX 79765

                     Aqua Beverage Co./Ozarka
                     701-A West Jackson
                     El Campo, TX 77437


                     Arcadi Jackson
                     2911 Turtle Creek Blvd
                     Suite 800
                     Dallas, TX 75219
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                     Aries Building Systems LLC
                     3229 N. Main St.
                     Cleburne, TX 76033


                     Arizona State University
                     1151S. Forest Ave
                     Tempe, AZ 85287


                     Armanino LLP
                     15950 Dallas Pkwy
                     Suite 600
                     Dallas, TX 75248


                     ASAP Drug Solutions Inc
                     1805 Arnold Dr.
                     Martinez, CA 94553


                     ASTAR Inc.
                     4155 W 16th Street
                     Odessa, TX 79763

                     Atkins Hollmann Jones Peacock & Lewis
                     3800 E. 42nd Street
                     Odessa, TX 79762


                     AXA Equitable - Retirement
                     PO Box 1016
                     Charlotte, NC 28201


                     Axis Energy Services LLC
                     2758 S Access Road
                     Longview, TX 75602

                     B&M Fabrication & Welding
                     5226 Buttercup Ct.,
                     Granbury, TX 76049
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                     B&R Excavating LLC
                     6570 420th Street
                     Sutherland, IA 51058


                     Barmore Enterprises Inc.
                     2203 W 3rd Street
                     Pecos, TX 79772


                     Basin Safety Consulting Corp.
                     2740 Sims St., Suite B
                     Dickinson, ND 58601


                     Baymont by Wyndham
                     22 Sylvan Way
                     Parsippany, NJ 07054


                     BD Holt Co.
                     5665 SW Loop 410
                     San Antonio, TX 78222


                     BDA Equipment Rentals
                     2767 South Loop 464
                     Monahans, TX 79756

                     Bennett Weber & Hermstad LLP
                     319S. Gillette Ave.
                     Gillette, WY 82716


                     Best Buy Business Advantage
                     PO Box 10922
                     Overland Park, KS 66225


                     Big Horn Tire Inc
                     501 Westside Dr
                     Gillette, WY 82718
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                     Big 0 Tires
                     4280 Professional Center Dr
                     Suite 400
                     Palm Beach Gardens, FL 33410


                     Bighorn Mountain Electric LLC
                     1309 Coffeen Ave., Suite 1200
                     Sheridan, WY 82801


                     Bill Williams Tire Center
                     1160 Horizon Blvd.
                     El Paso, TX 79927


                     Black Gold Energy Services NM
                     221 N. Burk Street
                     Hobbs, NM 88240

                     Black Hills Truck & Trailer Inc
                     2910 E. Mall Drive
                     Rapid City, SD 57701


                     Blackline Energy Services LLC
                     10001W. Interstate 20
                     Unit B
                     Midland, TX 79706


                     Bobcat of Gillette
                     4520 S. Douglass Hwy
                     Gillette, WY 82718

                     Bottom Line Equipment LLC
                     6300 1-20
                     Aledo, TX 76008


                     BPS Supply Group
                     5708 North FM 1788
                     Midland, TX 79707
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                     Brackett & Ellis
                     100 Main Street
                     Fort Worth, TX 76102


                     Bradley Arant Boult Cummings LLP
                     Fountain Place
                     1445 Ross Ave., Suite 3600
                     Dallas, TX 75202


                     Bradshaw Fowler Proctor & Fairgrave
                     801 Grand Avenue
                     Suite 3700
                     Des Moines, IA 50309


                     Brandon & Clark Inc.
                     3623 Interstate 27
                     Lubbock, TX 79404


                     Braun Intertec
                     11001 Hampshire Avenue S
                     Minneapolis, MN 55438


                     Braun Trucking Inc
                     335 2nd Street SE
                     Tioga, ND 58852


                     Brock White Construction Supply
                     2575 Kasotas Ave
                     Saint Paul, MN 55108

                     Browning's Concrete Pumping & Trucking
                     3501 Old Granbury Rd.
                     Granbury, TX 76049


                     Burton Companies LLC
                     529 E. Expressway 83
                     Weslaco, TX 78599
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                     Butch's Rat Hole & Anchor Service Inc.
                     700 Austin Street
                     Levelland, TX 79336


                     CA Secretary of State
                     1500 list Street
                     Sacramento, CA 95814

                     Cactus Fresh Water LLC
                     501 North Pyote
                     Wink, TX 79789


                     Cadence Bank
                     2800 N. Loop West, Suite 1000
                     Houston, TX 77092


                     Cain Electerical Supply Corp
                     PO Box 2158
                     Big Spring, TX 79721


                     Calfee Halter & Griswold
                     1405 East Sixth Street
                     Cleveland, OH 44114


                     Campbell County Treasurer
                     500 S. Gillette Ave.
                     Gillette, WY 82716


                     Canary LLC
                     2412 East Interstate Hwy 20
                     Odessa, TX 79766-6000


                     Cannon Advance
                     5308 13th Avenue, Suite 324
                     Brooklyn, NY 11219
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                     Canon Financial Services Inc
                     158 Gaither Drive
                     Mount Laurel, NJ 08054


                     Capital Lumber CO
                     1044 E 66th Ave.
                     Denver, CO 80229


                     Cardinal Hardware & Lumber
                     1231 Main Street
                     Eunice, NM 88231


                     Carson' s Nut - Bolt & Tool Company Inc
                     621 McGee Road
                     Anderson, SC 29625


                     Carter CAT Machinery
                     18471 Spring Creek Rd.
                     Abingdon, VA 24210


                     Cat Commercial Account
                     122 Noxon Road
                     Poughkeepsie, NY 12603


                     CAT Financial
                     2120 West End Avenue
                     Nashville, TN 37203


                     Choat Enterprises Inc.
                     1337 E. 5th Street
                     Odessa, TX 79761


                     Chris Gibson Logging LLC
                     114 Sycamore View Lane
                     Broken Bow, OK 74728
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                     Cintas Corporation
                     3450 Northern Cross Blvd.
                     Fort Worth, TX 76137


                     Citadel Insurance Services
                     2600 W. Executive Pkwy
                     Suite 500
                     Lehi, UT 84043


                     CJB Construction
                     31 Steel Road
                     Wylie, TX 75098


                     Clyde Henson
                     1421 Great Prairie Drive
                     Gillette, WY 82717


                     Collection Professionals Inc.
                     29 N. Connor Street
                     Sheridan, WY 82801


                     Colonial Life
                     PO Box 1365
                     Columbia, SC 29202


                     Colony Hardware
                     3025 N. Great SW Pkwy
                     Grand Prairie, TX 75050

                     Colorado Dept. of Labor & Employment
                     633 17th Street, Suite 600
                     Denver, CO 80202


                     Colorado Dept. of Revenue
                     1881 Pierce Street
                     Denver, CO 80214
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                     Comcast
                     1701 JFK Blvd.
                     Philadelphia, PA 19103


                     Compass Cementing Services LLC
                     4100 International Plaza
                     Suite 500
                     Fort Worth, TX 76109


                     Complete Energy Services Inc.
                     3333 1-35, Building F
                     Gainesville, TX 76240


                     Connet Fab LLC
                     PO Box 1783
                     Jacksonville, TX 75766


                     Converse County Treasurer
                     107N. 5th Street
                     Douglas, WY 82633


                     Cooper Water Sales
                     254 Chapman Rd., Suite 208
                     Newark, DE 19702


                     Core & Main Geosynthetics
                     1830 Craig Park Court
                     Saint Louis, MO 63146

                     Cort Business Services Corp
                     14850 Conference Center Drive
                     Suite 110
                     Chantilly, VA 20151


                     Cotton Bledsow Tighe Dawson
                     500W. Illinois Ave.
                     Midland, TX 79701
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                     Covery Brothers Contracting
                     2301 N. Masch Branch Rd.
                     Suite 208
                     Denton, TX 76207


                     Crane Rental LLC
                     1901 West Collins Ave.
                     Orange, CA 92867

                     Credit Collection Services Commercial
                     725 Canton St.
                     Norwood, MA 02062


                     Credo Energy Services LLC
                     1402 South 23rd Street
                     Artesia, NM 88210


                     Crossfire LLC
                     5805 FM 1788
                     Midland, TX 79706


                     Crowley FLeck PLLP
                     100 W. Broadway Ave.
                     Bismarck, ND 58501


                     Crude State Energy Services LLC
                     115 N. Cedar Street
                     Pecos, TX 79772


                     Culligan Water Conditioning
                     9399W. Higgins Road
                     Suite 1100
                     Des Plaines, IL 60018

                     Customer Truck & Equipment LLC
                     7701 East 24 HIghway
                     Kansas City, MO 64125
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                     Dakota Equipment Rental
                     4435 E. Colorado Blvd.
                     Spearfish, SD 57783


                     Dannah Investment Group
                     1717 Main St., Suite 5650
                     Dallas, TX 75201

                     Darrel L. Rhyne, RS
                     9227 State Hwy. 17
                     Balmorhea, TX 79718


                     David Coffin PLLC
                     300 Miron Drive
                     Southlake, TX 76092


                     David Pesina Jr.
                     736 W. Sheridan Ave.
                     Nampa, ID 83686


                     DCA PR LLC
                     468 N. Main Street
                     Medina, TN 38355


                     Delta Fuel Company LLC
                     1000 Wells Island Rd.
                     Shreveport, LA 71107


                     Dept of Treasury
                     Internal Revenue Services
                     Ogden, UT 84201


                     Derrick Brimingham
                     804 Nob Hill Drive #C
                     Birmingham, AL 35209
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                     Design Space Modular Bldgs, Inc
                     26020 Acero, Suite 100
                     Mission Viejo, CA 92691


                     DICarlo Precision Instrument Inc.
                     2006 Northwood Drive
                     Salisbury, MD 21801


                     Direct Business Funders LLC
                     175 Great Neck Road
                     Great Neck, NY 11021


                     DISA Global Solutions Inc.
                     10900 Corporate Centre Dr.
                     Suite 250
                     Houston, TX 77041


                     DJ Express Inc
                     PO Box 12836
                     Longview, TX 75607


                     Doggett Heavy Machinery Svcs LLC
                     9111 North Freeway
                     Houston, TX 77037


                     Dossier Systems Inc.
                     6 Terri Lane, Suite 700
                     Burlington, NJ 08016


                     Double Z Service & Supply LLC
                     631 1-20
                     Pecos, TX 79772

                     Dougherty Safety Consulting LLC
                     1011 Energy Street, Bldg. 2
                     Gillette, WY 82717
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                     Dovetail Distributors
                     101 Nursery Lane, Suite 303
                     Fort Worth, TX 76114


                     Dozer Ltd
                     3411 Silverside Rd., Suite 104
                     Wilmington, DE 19810


                     Driven Services
                     4010 Katie Lane
                     Midland, TX 79706


                     E-470 Public Highway Authority
                     22470 E. 6th Parkway
                     Suite 100
                     Aurora, CO 80018


                     Eagle Compression LLC
                     2 Eagle Industrial Drive
                     Troy, MO 63379


                     EDI
                     616W. Monument Rd.
                     Colorado Springs, CO 80905


                     Elevated Electrical Services LLC
                     PO Box 80726
                     Midland, TX 79708


                     Ellison Fluid Calipers LLC
                     7 Casa Loma
                     Odessa, TX 79765


                     Emergency Ice Inc
                     8300 Sovereign Row
                     Dallas, TX 75247
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                     Emeterio Valerio del Villar
                     1220 Winchester Blvd.
                     Rock Springs, WY 82901


                     Encompass Services LLC
                     2750S. Wadworth Blvd
                     Suite C-202
                     Denver, CO 80227


                     Energy Pipe & Equipment Rental LLC
                     2450 SW Evangeline Thrwy
                     Lafayette, LA 70508


                     Envirocon Systems Inc
                     1910 Rankin Rd.
                     Houston, TX 77073


                     Envirotech Engineering & Consulting Inc
                     2500 N. 11th Street
                     Enid, OK 73701


                     Equip Energy Company
                     345 Cabal Park Drive
                     Suite 200
                     Duluth, MN 55802


                     Equipment & Parts
                     5610 E Loop 281 South
                     Longview, TX 75602


                     Equipment Plus
                     PO Box 209
                     Dennis, TX 76439


                     Equipment Share
                     719 Arrowest Ct.
                     Grand Junction, CO 81505
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                     ETI - A Palfinger Co
                     15939 Piuma Avenue
                     Cerritos, CA 90703

                     Express 4x4 Truck Rental
                     330 S. Warminster Rd.
                     Suite 334
                     Hatboro, PA 19040


                     Exserv Facility Services Inc
                     890 Chancellor Row
                     Suite B
                     Dallas, TX 75247


                     F7 SSSM LLC
                     The Brookdale Group
                     3455 Peachtree Rd., Suite 300
                     Atlanta, GA 30326

                     Fast Track Transportation LLC
                     15402 Vantage Parkway East
                     Suite 322
                     Houston, TX 77032


                     Fastenal
                     2001 Theurer Blvd.
                     Winona, MN 55987


                     FedEx
                     942 South Shady Grove Rd.
                     Memphis, TN 38120

                     FEI Ferguson Waterworks
                     751 Lakefront Commons
                     Newport News, VA 23606


                     FireMaster
                     310 E. 34th Street
                     Lubbock, TX 79404
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                     Fisher Sand & Gravel Co.
                     5310 Coleman Ranch Rd.
                     Tolar, TX 76476


                     Flex Fleet Rentals LLC
                     2855 East Cottonwood Pkwy
                     Suite 100
                     Salt Lake City, UT 84121


                     Florida Dept of Revenue
                     5050W. Tennesee Street
                     Tallahassee, FL 32399


                     Foley Carrier Services LLC
                     1601 Elm Street, Suite 4360
                     Dallas, TX 75201


                     Forrest Tire Co Inc.
                     2225 NW County Rd.
                     Hobbs, NM 88240


                     Forza Safety LLC
                     PO Box 460
                     Shallowater, TX 79363


                     Franklin Mountain Permian LP
                     123 W. Mills Ave., Suite 600
                     El Paso, TX 79901

                     Franks Supply Company
                     3311 Stanford Dr. NE
                     Albuquerque, NM 87107


                     Freeland & Kauffman Inc.
                     209 W. Stone Ave.
                     Greenville, SC 29609
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                     Freese & Nichols Inc
                     801 Cherry St., Suite 2800
                     Fort Worth, TX 76102


                     Friendly Chevrolet Buick
                     2754 N. Stemmons Frwy
                     Dallas, TX 75207


                     Front Range Hydro-bandits
                     26199 County Road 52
                     Kersey, CO 80644


                     FSA Equipment LLC
                     1987 Troy Road
                     Washington, IN 47501


                     Fusion Testing LLC
                     210 Malapardis Rd., Suite 103
                     Cedar Knolls, NJ 07927


                     G&E Contractors LLC
                     1613 E. Mile 5 N
                     Weslaco, TX 78596


                     G&L Cattle
                     950 FM 1995
                     Van, TX 75790


                     GDL Industrial Electronics
                     1303 Cotton Flat Rd.
                     Midland, TX 79701


                     GenPro LLC
                     3500 S. Country Road 1290
                     Odessa, TX 79765
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                     GeoCorr Pipeline Inspection Technologies
                     11050W. Little York Rd., Building H
                     Houston, TX 77041


                     Get A Grip Supplies Inc.
                     14121 N. Shady Lane
                     Hobbs, NM 88242


                     Getsco Inc.
                     10791E. Finch Ave.
                     Middlesex, NC 27557


                     Git-R-Done Site Services Inc.
                     5840 Mohan Road
                     Gillette, WY 82718


                     GM Feeds
                     4000 Taylorsville Hwy
                     Statesville, NC 28625


                     Good Times Trucking LLC
                     408 N. 4th Street
                     Loving, NM 88256


                     Goodell Machinery & Construction
                     18847 County Road 72
                     Eaton, CO 80615


                     Goosmann Law Firm PLC
                     2101 W. 69th Street, Suite 200
                     Sioux Falls, SD 57108


                     Grainger
                     100 Grainger Parkway
                     Lake Forest, IL 60045
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                     Granite Seed Company - Denver
                     490 East 76th Avenue, Unit A
                     Denver, CO 80229


                     Green Mule Services LLC
                     1601 Evans
                     Midland, TX 79701


                     GSS Construction & Oilfield Supply
                     12020W. Interstate 20 East
                     Odessa, TX 79763


                     Gulf stream Legal Group LLC
                     720 N. Post Oak Road, Suite 355
                     Houston, TX 77024


                     Hackler High Caliber Construction
                     2500 County Road 405
                     Alvarado, TX 76009


                     Hale Trailer
                     1711 IA-210
                     Huxley, IA 50124


                     Hall & Evans LLC
                     1001 17th Street, Suite 3000
                     Denver, CO 80202


                     Haynes & Boone LLP
                     2801 N. Harwood St., Suite 2300
                     Dallas, TX 75201


                     HDDS LLC
                     1999 Bryan St., Suite 900
                     Dallas, TX 75201
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                     Heavy Equipment Rentals of Texas LLC
                     4629 Priem Lane
                     Pflugerville, TX 78660


                     Herc Rentals Inc.
                     27500 Riverview Center Blvd.
                     Suite 100
                     Bonita Springs, FL 34134


                     High Mountain Inspection Services Inc
                     2000 Revenue Blvd.
                     Casper, WY 82601


                     High Reach Equipment LLC
                     2624 West 30th Street South
                     Wichita, KS 67217


                     Hilliard Office Solutions
                     3001 W Loop 250 N
                     Suite E-127
                     Midland, TX 79705


                     Hitek Communications Inc.
                     411 S. Walsh Drive #A137
                     Casper, WY 82609


                     Hobbs Welding Supply
                     123 N. Grimes Street
                     Hobbs, NM 88240

                     Hoffer Auto Care
                     2201 N. Mechanic Street
                     El Campo, TX 77437

                     Honnen Equipment Company
                     5055 East 72nd Avenue
                     Commerce City, CO 80022
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                     Howard Supply Company LLC
                     4100 International Plaza #850
                     Fort Worth, TX 76109


                     HPF Consultants Inc
                     3106 N. Big Spring
                     Suite 100
                     Midland, TX 79705


                     HUB International Mountain States Ltd.
                     3545 Gabel Road
                     Billings, MT 59102


                     Hunt Gulliot & Associates LLC
                     603 Reynolds Drive
                     Ruston, LA 71270


                     Hydrostatic Pipe Service Inc
                     3030W. Marland Blvd.
                     Hobbs, NM 88240


                     Hytorc
                     7900 Rodeo Trail, Suite 500
                     Mansfield, TX 76063


                     iCopy LLC
                     1010W. Business 380
                     Decatur, TX 76234

                     Ignite Energy Services LLC
                     5173 US-69
                     Lufkin, TX 75904


                     Imperial Supplies LLC
                     300N. Madison Street
                     PO Box 11008
                     Green Bay, WI 54307
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                     Imperial Testing & Engineering Inc
                     3907 Kidron Road
                     Lakeland, FL 33811


                     IN Dept of Child Support
                     402W. Washington Street
                     Indianapolis, IN 46204


                     Industrial Fabrics Inc
                     510 O'Neal Lane
                     Baton Rouge, LA 70819


                     Industrial Hose & Oilfield Supply
                     1713 Hines Road
                     Cleburne, TX 76031

                     Industrial Informaton Resources
                     2277 Plaza Drive, Suite 300
                     Sugar Land, TX 77479


                     Industrial Power
                     703 Whitfield Street
                     Fayetteville, NC 28306


                     Industrial Training Services
                     120 Cs-1000
                     Murray, KY 42071

                     Innovex Downhole Solutions Inc,
                     4310 N. Sam Houston Pkwy E
                     Houston, TX 77032


                     Inspection Associates
                     15934 Cypress North Houston Rd.
                     Cypress, TX 77429
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                     Intermountain Electric Service Inc
                     777 Main Street, Suite 3000
                     Fort Worth, TX 76102


                     Invictus Tools LLC
                     501 Winscott Road
                     Benbrook, TX 76126

                     IR Express Trucking LLC
                     306N. Jefferson St.
                     Hobbs, NM 88240


                     ISCO Industies Inc
                     58301 Marietta Road
                     Byesville, OH 43723


                     J and C Investments
                     2611 Highway 35 North
                     Rockport, TX 78382


                     J&J Rentals LLC
                     7807N. World Drive
                     Hobbs, NM 88242


                     J-MAVV Transport LLC
                     1203 E. Scharbauer St.
                     Apt A
                     Hobbs, NM 88240


                     Jet Specialty Inc.
                     309 1-20 Frontage Road
                     Big Spring, TX 79720


                     Jim Unger
                     4237 County Road 40
                     Yuma, CO 80759
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                     Jordan Lynch & Cancienne PLLC
                     1980 POst Oak Blvd., Suite 200
                     Houston, TX 77056


                     Jose T. Arrendondo
                     1428 Paradise Drive
                     Hobbs, NM 88242


                     JW Equipment Sales
                     4901 S. Douglas Hwy.
                     Gillette, WY 82718


                     K&M Energy Services Inc.
                     210 Hwy 59
                     Douglas, WY 82633


                     Kalaco Equipment Company
                     8400 Sprague Road
                     Odessa, TX 79764


                     Kansas Turnpike Authority
                     9401 E. Kellogg
                     Wichita, KS 67207


                     KEHM Contractors Inc
                     1466 S. 13th Street
                     Omaha, NE 68108


                     Kelley Jasons McGownan Spinelli Hanna
                     3411 Silverside Road
                     Wilmington, DE 19810


                     Keyhole Technologies LLC
                     5700 West Poison Spider Rd.
                     Casper, WY 82604
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                     Kimball Midwest
                     4800 Roberts Road
                     Columbus, OH 43228


                     Kinetic Energy Services
                     615 W. Chapman Road
                     Carlsbad, NM 88220


                     Kissack Water & Oil Service Inc
                     231S. Heptner Road
                     Rozet, WY 82727


                     Knighten Machine & Service Inc
                     3800 E. 42nd Stret, Suite 333
                     Odessa, TX 79762


                     Koenig Portable Toilets
                     1655 370th Street
                     Spencer, IA 51301


                     Kohn Law Firm S.C.
                     735 N. Water Street
                     Milwaukee, WI 53202


                     Komatsu Equipment Company
                     dba Komatsu Sou
                     1409 East 3850 South
                     Saint George, UT 84790


                     Kroskob Brothers Farms
                     12462 County Road 25
                     Merino, CO 80741

                     Kuhbacher Trucking Inc
                     4101 Garner Lake Road
                     Gillette, WY 82716
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                     Kumar & Associates Inc.
                     2390 S. Lipan Street
                     Denver, CO 80223


                     KW Fuels LLC
                     717 W. Sanger Street
                     Hobbs, NM 88240


                     Kyle Erwin Construction LLC
                     270 County Road 4668
                     Rhome, TX 76078


                     Landmark Coatings
                     933 Danner Road
                     Mocksville, NC 27028


                     Law Office of Kight L Higgins PLLC
                     6300 Ridglea Place
                     Fort Worth, TX 76116


                     Lea County Concrete
                     5505 W. Dunnam Street
                     Hobbs, NM 88240


                     Lendspark
                     2554 Gateway Road
                     Carlsbad, CA 92009


                     Leslie Law PLLC
                     12333 Sowden Road, Suite B
                     Houston, TX 77080


                     Life Line Technologies
                     dbaXstremeMD
                     1028 Forum Drive
                     Broussard, LA 70518
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                     Lightning Field Service
                     11830N. Saginaw Blvd.
                     Fort Worth, TX 76179


                     Lightning Master Corporation
                     2100 Palmetto St., Suite A
                     Clearwater, FL 33765


                     Lindsay Water Sales
                     107 14th Street N
                     Moorhead, MN 56560


                     Logistic Dynamics LLC
                     155 Pineview Drive
                     Buffalo, NY 14228


                     Lone Star Technology Group LLC
                     6210 Shiloh Road
                     Midlothian, TX 76065


                     Lone Wolf Natural Resource Service Inc.
                     11263 Canvas Nettie Road
                     Nettie, WV 26681


                     Lonestar Ag
                     1690 US-60
                     Friona, TX 79035


                     Lyrthiz LLC
                     400W. Illinois Ave., Suite 800
                     Midland, TX 79701


                     M&M Disposal
                     PO Box 12
                     Stanton, TX 79782
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                     Mac Farms Inc.
                     2066 Meadow Creek
                     Campbellsville, KY 42718


                     Mallory Safety & Supply LLC
                     1040 Industrial Way
                     Longview, WA 98632


                     Mark Leachman PC
                     PO Box 1060
                     Broomfield, CO 80038


                     Marlatt Farm Freight CO
                     4604 US-85
                     Yoder, WY 82244


                     Marlin Oil Company LLC
                     1121 Sioux
                     Gillette, WY 82718


                     Martin Marietta Materials Inc.
                     4123 Parklake Avenue
                     Raleigh, NC 27612


                     Matheson Tr-Gas Inc.
                     909 Lake Carolyn Pkwy
                     Suite 1300
                     Irving, TX 75039


                     MBS Seed Inc.
                     320 Bell Place
                     Denton, TX 76209


                     McBride Supplies It All LLC
                     4090 NW Mustang Dr.
                     Andrews, TX 79714
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                     McCarty Equipment Co Ltd.
                     1103 Industrial Blvd.
                     Abilene, TX 79602


                     Meridiam Partners LLC
                     1001 W. Arizona Blvd
                     Denver, CO 80223-3000


                     Mesa Machine
                     8820 NW Loop 338, Suite 4
                     Odessa, TX 79764


                     Metro Transit Sandblasting WTX LLC
                     601 County Road 125
                     Garden City, TX 79739


                     MG Oil Company
                     1180 Creek Drive
                     Rapid City, SD 57703


                     Microtel Tioga
                     1001 Elm Street
                     Tioga, ND 58852


                     Midland Central Appraisal District
                     4631 Andrews Hwy
                     Midland, TX 79703


                     Midland City VEH REG CO
                     PO Box 712
                     Midland, TX 79702


                     Midland Lock & Safe
                     1408 N. Big Spring Street
                     Midland, TX 79701
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                     Miller Insulation
                     8290 1-20
                     Midland, TX 79706


                     Milton Rents Inc.
                     100 Dover Road
                     Chichester, NH 03258


                     Minnesota Ag Power
                     dba Midwest Machinery
                     4561 Highway 212
                     Glencoe, MN 55336


                     Montgomery Asphalt Company LLC
                     1060 Hobbie Road
                     Montgomery, AL 36105


                     Moore Maker Inc.
                     303 Houston Avenue
                     Matador, TX 79244


                     Morales Fiberglass Services
                     565 Mason Rd., Suite 216
                     Katy, TX 77494


                     Motive (Keep Trucking Inc)
                     55 Hawthorne St., Suite 400
                     San Francisco, CA 94105

                     Motor Power Casper Inc,
                     4455 N. Salt Creek Hwy.
                     Casper, WY 82601


                     MRB Enterprise Inc.
                     7700 Old Branch Ave B204
                     Clinton, MD 20735
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                     MTR Construction & Consulting LLC
                     1400 N. Hwy 349
                     Rankin, TX 79778


                     Murray Resources Ltd
                     800 Geesner Rd, Suite 170
                     Houston, TX 77024


                     Mustang Rental Services
                     12800 Northwest Frwy
                     Houston, TX 77040


                     National Tank & Equipment LLC
                     501 Independence Pkwy, Suite A
                     Deer Park, TX 77536


                     NCCER
                     13614 Progress Blvd.
                     Alachua, FL 32615


                     New Mexico Taxation & Revenue Dept.
                     10500 Copper Ave., Suite C
                     Albuquerque, NM 87123


                     Newco Trucking
                     2708 West 7th Street
                     Texarkana, TX 75501


                     Niece Equipment
                     17401N IH 35
                     Buda, TX 78610


                     Norco Inc.
                     3333 W. Yellowstone Hwy.
                     Casper, WY 82602
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                     North Bill Disposal LLC
                     4100 Hwy 59
                     Douglas, WY 82633


                     North Dakota One Call
                     c/o One Csll Concep
                     PO Box 1015
                     Bismarck, ND 58502


                     North Texas Extinguisher Service
                     W Brady Street
                     Decatur, TX 76234


                     North Texas Fire Extinguisher Company
                     12507 County Road 1114
                     Tyler, TX 75709


                     North Texas Five Star Events LLC
                     2701 Hartlee Field Road
                     Denton, TX 76208


                     Northern Colorado Pest & Wildlife Contro
                     2881 S. 31sst Avenue, Unit 12
                     Greeley, CO 80631


                     Northern Survey Consulting LLC
                     1320W. Erie Street
                     Holbrook, AZ 86025

                     Northwest Parkway
                     3701 Northwest Parkway
                     Broomfield, CO 80023


                     Nuverra Environmental Solutions
                     1111 Katy Frwy., Suite 1006
                     Houston, TX 77079
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                     NVI LLC
                     2449 West Park Avenue
                     Gray, LA 70359


                     O&S Quick Change Inc
                     2301 N. Grimes Street
                     Hobbs, NM 88240


                     O'Reilly Automotive Inc.
                     526 Front Street
                     Evanston, WY 82930


                     O'Rourke Petroleum
                     223 McCarty Street
                     Houston, TX 77029


                     Office Shop Inc.
                     105E. Washington Ave.
                     Riverton, WY 82501


                     Offsite Equipment LLC
                     223 McCarty Street
                     Houston, TX 77029


                     Ohio Child Support Payment Center
                     PO Box 182380
                     Columbus, OH 43218


                     Oil City Printers
                     312 W. 2nd Street
                     Casper, WY 82601


                     One Stop Auto Plex
                     1281 W. Richards Street
                     Douglas, WY 82633
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                     Overhead Door Company of Gillette
                     3208 US-14 #16
                     Gillette, WY 82716


                     Oxygen Service Company
                     1111 Pierce Butler Rte
                     Saint Paul, MN 55104


                     Pacific Steel & Recycling
                     5 River Drive South
                     Great Falls, MT 59405

                     Palmetto Services LLC
                     185 Aiken Road
                     Wagener, SC 29164


                     Parking Systems of America (1563)
                     4220 Gurley Avenue
                     Dallas, TX 75223


                     Parking Systems of America (1622)
                     4220 Gurley Avenue
                     Dallas, TX 75223


                     Parking Systems of America (1694)
                     4220 Gurley Avenue
                     Dallas, TX 75223


                     Parkingh Systems of America (1506)
                     4220 Gurley Avenue
                     Dallas, TX 75223


                     PB Materials - Odessa
                     4044 Penbrook Street
                     Odessa, TX 79762
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                     PEC Premier Safety
                     300 Holiday Square Blvd., Suite 100
                     Covington, LA 70433


                     Permian Basin Materials LLC
                     4044 Penbrook St, Suite 100
                     Odessa, TX 79762


                     Permian Coating Supply LLC
                     1902 South Midland Drive
                     Midland, TX 79703


                     Permian Sign Co. Inc.
                     411S. County Road 1276
                     Midland, TX 79706


                     Permian Tank & Manufacturing Inc
                     1054 Co. Rd. 237
                     Giddings, TX 78942


                     Petro Fencing Inc
                     1413 Pacific Avenue
                     Midland, TX 79705


                     Petro Guardian LLC
                     12216 West County Rd
                     Suite 100
                     Odessa, TX 79765

                     Petrochemical
                     620 N Grant Avenue
                     Odessa, TX 79761


                     Pipeline Land Services Inc.
                     4708 K Mart Drive
                     Wichita Falls, TX 76308
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                     Pipeline Supply & Service LLC (PSS)
                     2656 S Loop W #600
                     Houston, TX 77054


                     Powder Coating Solutions
                     910W. Pierce Street
                     Carlsbad, NM 88220


                     Powder River WorkSafe Testing LLC
                     E 4th Street, Suite 20
                     Gillette, WY 82716

                     Power Screening
                     25 Brighton Road
                     Henderson, CO 80640


                     PrairieLane Partners Inc.
                     811E. 30th Avenue, Suite F
                     Hutchinson, KS 67502


                     Premier Equipment Corp. Inc.
                     PO Box 15203
                     Baton Rouge, LA 70895


                     Premium Oilfield Technologies LLC
                     10600 W Sam Houston PkwyN
                     Houston, TX 77064


                     Pressure Services
                     2361 S. Plaza Drive #1
                     Rapid City, SD 57702

                     Priority Property Management
                     287 E. Fountain Blvd., Unit 300
                     Colorado Springs, CO 80903
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                     Pro-Kote Engineering & Supply
                     590 Circle Drive
                     Casper, WY 82601


                     Professional Rig Services Inc
                     805W. Main Street, Suite C
                     Tremonton, UT 84337


                     ProsRent
                     3001 Dallas Pkwy
                     Frisco, TX 75034


                     ProTex Erosion Control LLC
                     PO Box 15082
                     Fort Worth, TX 76119


                     Purity Oilfield Services LLC
                     183 Bear Cat Road
                     Aledo, TX 76028


                     Quallity Transport Inc
                     1200 East Mills Street
                     El Paso, TX 79901


                     Quick Supply Co.
                     6620 NW Toni Drive
                     Des Moines, IA 50313


                     Quorum
                     9615 W. County Road 152
                     Midland, TX 79706

                     R&M Trucking & Backhoe Service LLC
                     1311 14th Street
                     Hobbs, NM 88240
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                     R&N Trenching Inc.
                     7416 E US Hwy 67
                     Mertzon, TX 76941


                     R&R Rest Stops of Casper
                     1835 Skyview Drive
                     Casper, WY 82601


                     Rapid Fire Protection
                     1530 Samco Road
                     Rapid City, SD 57702


                     Razor City Rental
                     305S. Miller Avenue
                     Gillette, WY 82716


                     Razor's Edge Directional Drilling LLC
                     6854 Deerewood Lane
                     Bismarck, ND 58503


                     RDO Construction Equipment Co.
                     901 E. Hwy 12
                     Webster, SD 57274


                     Ready Refresh By Nestle
                     4718 Mountain Creek Pkwy
                     Dallas, TX 75236


                     Reinforcing Steel Supply
                     500 S. John Ben Sheppard Pkwy
                     Odessa, TX 79762


                     Reliable Industrial Group
                     8801 Industrial Driveq
                     Pearland, TX 77584
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                     Republic Services
                     18500 N Allied Way
                     Phoenix, AZ 85054


                     Reusable Organic Energy
                     6726 FM 1096
                     Boling, TX 77420


                     Rice Farmers Coop Inc.
                     106 Market Street
                     El Campo, TX 77437


                     Riverhawk Industrial Supply
                     465 Fife Road
                     Mulberry, FL 33860


                     Riveron RTS LLC
                     401 S. Old Woodward, Suite 340
                     Birmingham, MI 48009


                     Road Runner Crane LLC
                     5054 Western Avenue
                     Woodward, OK 73801


                     Robert Half International
                     1751 River Run, Suite 305
                     Fort Worth, TX 76107


                     Robert Mueller
                     6337 Nightingale Drive
                     Hobbs, NM 88240


                     Roberts Truck Center
                     10101 1-20
                     Midland, TX 79706
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                     Rocky Mountain Power
                     2840 E. Yellowstone Hwy
                     Casper, WY 82609


                     Rocky Mountain Resources Inc
                     PO Box 5101
                     Englewood, CO 80155


                     Rosenwood Rose & Litwak PLLC
                     1712 Euclid Avenue
                     Charlotte, NC 28203


                     Rossco Crane & Rigging Inc
                     SE 74th Street Southeast
                     Minot, ND 58701


                     Royer Commercial Interiors
                     3100 West 7th Street, Suite 200
                     Fort Worth, TX 76107


                     Rush Truck Center
                     326 North Access Road 1-20
                     Tye, TX 79563


                     Sacramento Drilling Inc
                     1143 Blumenfeld Drive, Suite 100
                     Sacramento, CA 95815


                     Safety Solutions LLC
                     7116 W 1-20
                     Midland, TX 79705


                     Salina Steel Supply
                     234 E Ave A
                     Salina, KS 67401
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                     Samba Saftey
                     5619 DTC Pkwy, Suite 1000
                     Englewood, CO 80111


                     Samuel Knight Corporation
                     1920 McKinney Avenue
                     Dallas, TX 75201


                     Sanderfoot Wind & Excavating Inc
                     2424 Progress Court
                     Neenah, WI 54956


                     Selzer Gurvitch Rabin Wertheimer Polott
                     4416 East-West Hwy
                     Bethesda, MD 20814


                     Sentry Crane Services
                     1505 21st Avenue NW
                     Watford City, ND 58854


                     Sexton Creative
                     10066 Fox Chase Drive
                     Loveland, OH 45140


                     Sherrard Roe Voight Harbison PLC
                     1600 West End Ave., Suite 1750
                     Nashville, TN 37203


                     Sherwin Williams 79761
                     510 S. Meadow Ave
                     Odessa, TX 79761


                     Sherwin Williams 82601
                     2590 Revenue Blvd. #1
                     Casper, WY 82601
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                     Sideline Testing LLC
                     601S. San Patricia St.
                     Sinton, TX 78387


                     Sierra Springs
                     5545 Sierra Springs Lane
                     Fort Worth, TX 76123


                     SKG Engineering LLC
                     706 S. Abe Street
                     San Angelo, TX 76903


                     Sojourner Trucking
                     26113 MS-27
                     Crystal Springs, MS 39059


                     Somers & Watson Machinery LLC
                     4706W. Wall Street
                     Midland, TX 79703


                     Sane Energy Services LLC
                     1406 Rice Road
                     Tyler, TX 75703


                     Southern Land & Fence LLC
                     2635 Youngs Road
                     Leesburg, FL


                     Southern Tire Mart LLC
                     12618W 1-20 E
                     Odessa, TX 79765


                     Southwest Oilfield Rentals LLC
                     706 E. Michigan, Suite 406
                     Hobbs, NM 88240
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                     Spartan Consulting & Safety LLC
                     1702 S. County Road 1310
                     Odessa, TX 79765


                     Spin Capital
                     1909 Tyler Street, Suite 504
                     Hollywood, FL 33020


                     Spireon
                     1888 Von Karman Ave., Suite 1500
                     Irvine, CA 92612


                     Spring Energy Services LLC
                     3287 Carolina Drive
                     Commerce City, CO 80022


                     Stash Storage Near Me
                     4170 Tower Road
                     Denver, CO 80249


                     Steam Consulting
                     N St. Andrews Place
                     Los Angeles, CA 90004


                     Sterling Crane LLC
                     9351 Grant St., Suite 250
                     Denver, CO 80229


                     Stodghill & Allie LLP
                     2002 Hoskins Drive
                     Houston, TX 77080


                     Stone Oilfield Services
                     725 Tatum Hwy
                     Lovington, NM 88260
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                     Stotz Equipment
                     14750 S. Pony Express Rd.
                     Riverton, UT 84065


                     Summit Electric Supply
                     2900 Staford NE
                     Albuquerque, NM 87107


                     Sundahl Powers Kapp & Martin LLC
                     2020 Carey Ave., Suite 301
                     Cheyenne, WY 82001


                     Sunshine Supplies Inc.
                     1409 Republic Road
                     Birmingham, AL 35214


                     Suttles Logging Inc
                     1805 Alta Vista Drive
                     Midland, TX 79706


                     Swan Lake Farms LLC
                     12020 E. Interstate 20
                     Odessa, TX 79765


                     T.Disney Trucking & Grading Inc.
                     6324 US-301
                     Riverview, FL 33578


                     T.O.F.S. LLC
                     5802 E. Hwy 62
                     Lubbock, TX 79403


                     T3VoiceNet LLC
                     601 N. Marienfield St.
                     Suite 104
                     Midland, TX 79701
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                     Tailwind Loenbro Holdings LLC
                     1900 32nd Avenue NE
                     Black Eagle, MT 59414


                     Tascosa Office Machines
                     223 W. Broadway St.
                     Hobbs, NM 88240


                     TCH Construction LLC
                     PO Box 632939
                     Nacogdoches, TX 75963


                     TD Rentals
                     1731 Oil Mill Road
                     Pecos, TX 79772


                     Team Industrial Services Inc
                     200 Hermann Drive
                     Alvin, TX 77511


                     TechCorr USA Management LLC
                     1485 E. Sam Houston Pkwy S
                     Pasadena, TX 77503


                     Techline Inc
                     9609 Beck Circle
                     Austin, TX 78758


                     Terracon Consultants Inc
                     10841 S. Ridgeview Road
                     Olathe, KS 66061


                     Teton Steel
                     2380 E. 24th N
                     Idaho Falls, ID 83401
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                     Texas Commercial Fire & Safety LLC
                     245 Calhoun Plaza
                     Port Lavaca, TX 77979


                     Texas Security Solutions
                     2300 Cedar Branch Drive
                     Austin, TX 78727


                     The Residence at Midland
                     5801 Deauville Blvd.
                     Midland, TX 79706


                     The Water Factory Co.
                     601S. Walker St.
                     Alpine, TX 79830


                     The Wireline Group Inc
                     PO Box 60018
                     Midland, TX 79711


                     Thomas Oilfield Services LLC
                     4250 SE Loop 281
                     Longview, TX 75602


                     Thompson Tractor
                     3550 Joe Mallisham Pkwy
                     Tuscaloosa, AL 35401


                     Thor's Hammer
                     1212N. Yarbrough Drive
                     El Paso, TX 79925


                     Thrasher Inc
                     1209 E 24th Street
                     Plainview, TX 79072
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                     Thunder Basin Ford
                     1100W 2nd Street
                     Gillette, WY 82716


                     Tiger Supplies
                     2720 Discovery Drive
                     Raleigh, NC 27616


                     TMD
                     16715 Longenbaugh Dr.
                     Houston, TX 77095


                     Toms Pilot Car Service
                     410 W. White Street
                     Hobbs, NM 88240


                     Torqmaster LLC
                     5712 E. County Road 64
                     Midland, TX 79705


                     Totem Forest Products International
                     419 SW 11th Ave., Suite 300
                     Portland, OR 97205


                     Trash Trailers For Rent LLC
                     PO Box 12075
                     Odessa, TX 79768


                     Travelers CL Remittance Center
                     PO Box 660317
                     Dallas, TX 75266-0137


                     Trench Plate Rental Co.
                     dba National Trench Safety LLC
                     260 N. Sam Houston Pkwy East
                     Suite 200
                     Houston, TX 77060
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                     Trinity Energy Services LLC
                     118 Vintage Park Blvd.
                     Suite W718
                     Houston, TX 77070


                     Triple T's Linings LLC
                     2493 Pecos Hwy
                     Carlsbad, NM 88220


                     Trisura Insurance Company
                     1411 Opus Place, Suite 450
                     Downers Grove, IL 60515

                     Triton Environmental LLC
                     5433 Newport Street
                     Commerce City, CO 80022


                     Trophy Logistics LLC
                     3123 Silver Falls
                     Kingwood, TX 77339


                     Truck Utilities Inc
                     2370 English Street
                     Saint Paul, MN 55109


                     Turner Seed Co.
                     211 County Road 151
                     Breckenridge, TX 76424


                     Two Bit Rentals
                     5226 134th Avenue NW
                     Williston, ND 58801


                     Two Cams Ice
                     2242 Poplar Ten Road
                     Concord, NC 28027
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                     TX- Child Support
                     PO Box 12548
                     Austin, TX 78711


                     UEC LLC
                     9461 Willow Ct
                     Henderson, CO 80640


                     UniFirst Holdings Inc
                     701 Brazos, Suite 1050
                     Austin, TX 78701


                     United Rentals (North America) Inc
                     2301 Texas Avenue S
                     College Station, TX 77840


                     URS Agents LLC
                     3675 Crestwood Pkwy NW
                     Suite 350
                     Duluth, GA 30096


                     USPS PO Box
                     Southern Area Managing Counsel
                     PO Box 227078
                     Dallas, TX 75222


                     Uwharrie Bottled Water Services
                     930 Old Charlotte Road
                     Albemarle, NC 28001


                     Vaco
                     2500 Dallas Pkwy, Suite 496
                     Plano, TX 75093

                     Valley Day & Night Clinic
                     3302 Boca Chica Blvd.
                     Brownsville, TX 78521
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                     VanZandt Controls LLC
                     13409 W County Road 132
                     Odessa, TX 79765


                     Veriforce LLC
                     1575 Sawdust Rd., Suite 600
                     Spring, TX 77380


                     Verizon Wireless
                     1 Verizon Way
                     Basking Ridge, NJ 07920


                     Vesta Housing Solutions
                     1000 Town Ctr., Suite 975
                     Southfield, MI 48075


                     Viking Forest Products
                     7480 Flying Cloud Drive
                     Suite 400
                     Eden Prairie, MN 55344


                     Villegas Stone Masonry
                     9523 Circle S Drive
                     Helotes, TX 78023


                     Vista Bank
                     1400 Summit Ave., Suite 100
                     Fort Worth, TX 76102


                     Vistaprint Corporate Solutions
                     275 Wyman St., Suite 100
                     Waltham, MA 02451


                     Visual Edge Inc
                     530 6th Street
                     Sioux City, IA 51101
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                     Vulcan Materials
                     1200 Urban Center Drive
                     Birmingham, AL 35242


                     W. Joe Shaw Ltd
                     4200 Underwood Road
                     La Porte, TX 77571


                     Wagner Falconer & Judd
                     100 S. 5th St, Suite 800
                     Minneapolis, MN 55402


                     Wagner-Smith Equipment Co.
                     550 Hwy 155 S
                     McDonough, GA 30253


                     Warehouse Supply Inc
                     300 N. 2nd Street
                     La Salle, CO 80645


                     Welding Supply of Pecos
                     17 County Road 203
                     Pecos, TX 79772


                     West Company of Midland LLC
                     110W. Louisiana Ave., Suite 110
                     Midland, TX 79701


                     West Texas Dumpsters
                     4805W County Road 120
                     Midland, TX 79706

                     WEX Acct 0451-00-925777-S
                     1 Hancock Street
                     Portland, ME 04101
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                     WEX Acct 0496-00-878686-S
                     1 Hancock Street
                     Portland, ME 04101


                     Whitco Supply LLC
                     4320 Johnson Road B
                     Odessa, TX 77964


                     White Star Equipment LLC
                     PO Box1242
                     Sherman, TX 75091


                     White' s Welding LLC
                     46005 S County Road 202
                     Woodward, OK 73801


                     Whites Frontier Motors
                     444 Skyline Drive
                     Gillette, WY 82718


                     Wholesale Electric Supply Co.
                     1122 W Cotton Steet
                     Longview, TX 75640


                     Wick Phillips Gould & Martin LLP
                     3131 McKinney Ave., Suite 500
                     Dallas, TX 75204


                     Wilbanks Trucking Services LLC
                     11246 Lovington Hwy
                     Artesia, NM 88210


                     Wild West Trucking LLC
                     903 N Hickory Stq
                     Pecos, TX 79772
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                     Wildcat Pump & Supply Inc
                     115 2nd Street
                     Claflin, KS 67525


                     Willard Agri-Service of Greenwood LLC
                     22272 S. Dupont Hwy
                     Greenwood, DE 19950


                     William Uffelman
                     HC 36 Box 2280
                     Hardin, MT 59034


                     Williams Scotsman Inc
                     4646 E an Buren St., Suite 400
                     Phoenix, AZ 85008


                     Williston Fire & Safety LLC
                     3420 2nd Avenue W
                     Williston, ND 58801


                     Windmill Spraying Service
                     602 W. Chance Drive
                     Hobbs, NM 88242


                     Wyoming Child Support Enforcement
                     2015 Carey Ave., Suite 601
                     Cheyenne, WY 82001


                     Wyoming First Aid & Safety Supply LLC
                     589 Yellowstone Road
                     Rock Springs, WY 82901


                     Wyoming Machinery Company
                     5300 West Old Yellowstone Hwy
                     Casper, WY 82604
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                     Wyoming Rents
                     5185 W Yellowsstone Hwy
                     Casper, WY 82604


                     Wyoming Water Solutions
                     605 E 7th Street
                     Gillette, WY 82716


                     Wyrick Construction
                     49 Shell Oil Road
                     Baker, MT 59313


                     Xcel NDT LLC
                     104 Avon Street
                     Clifton, KS 66937


                     Xerox Financial Services
                     45 Glover Ave.
                     Norwalk, CT 06850


                     XL Specialty Insurance Company
                     677 Washington Blvd.
                     10th Floor, Suite 1000
                     Stamford, CT 06901


                     Yellow Rose Mapping LLC
                     2011 Woodland Hills Lane
                     Weatherford, TX 76087

                     Yellowstone Valley Parts & Equipment
                     4959 Hwy 312
                     Billings, MT 59105


                     Zeno Digital Solutions LLC
                     14320 Midway Road
                     Dallas, TX 75244
